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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

DR. CHRISTOPHER FROST                                                              PLAINTIFF

v.                                                    CIVIL ACTION NO. 3:19-CV-227-CRS

UNIVERSITY OF LOUISVILLE, ET AL.                                                DEFENDANTS



                        ORDER FOR PRELIMINARY INJUNCTION
       This matter having come before the Court upon Plaintiff Dr. Christopher Frost’s Amended

Motion for Preliminary and Permanent Injunction (DN 21), and for the reasons set forth in the

memorandum opinion entered this date and the Court being otherwise sufficiently advised, IT IS

HEREBY ORDERED AND ADJUDGED that Plaintiff’s Amended Motion for Preliminary and

Permanent Injunction (DN 21) is GRANTED to the extent it seeks a preliminary injunction.

Plaintiff’s motion to the extent it seems a permanent injunction is DENIED WITHOUT

PREDJUICE.

       IT IS FURTHER ORDERED that the Defendant University of Louisville shall fully

reinstate Plaintiff to his probationary, tenure-track appointment as an Assistant Professor of

Biology in the College of Arts and Sciences unless and until Plaintiff is afforded appropriate due

process not inconsistent with the memorandum opinion.

       IT IS FURTHER ORDERED that this Preliminary Injunction shall issue immediately

and that no security bond need be posted. This Preliminary Injunction shall remain in effect until

further order of this Court.

       In light of Plaintiff’s filing of the Amended Motion for Preliminary and Permanent

Injunction (DN 21) which this Court grants in part and denies in part, Plaintiff’s Motion for

Preliminary Injunction filed on March 27, 2019 (DN 4) is DENIED AS MOOT.
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IT IS SO ORDERED.




                    May 29, 2019
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